Adrian Jules in Pro Per
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                                                                                        April 11, 2023

The Honorable Judge Lorna G. Schofield
United States District Court | Southern District of New York
40 Foley Square, Courtroom 1106 | New York, NY 10007
Re: Response to Opposition/Motion to Vacate Pursuant to FAA
Case No.: 1:20-cv-10500-LGS


Dear Judge Schofield,

        I am writing to request a change of due date for Plaintiff’s response to Defendants motion
to confirm the arbitration award pursuant to Federal Arbitration Act 9 U.S. Code § 12.

        9 U.S. Code § 12 stipulates, “Notice of a motion to vacate, modify, or correct an award
must be served upon the adverse party or his attorney within three months after the award is filed
or delivered” therefore Plaintiff’s motion to vacate has a statutorily established deadline April 17,
2023, versus the calendared April 14, 2023, date and Plaintiff should not be deprived of due
process that preserves his right to motion this court three days after the calendared date.

        More specifically, the arbitration award currently under dispute was issued January 17,
2023, so April 17, 2023, is the three-month deadline for Plaintiff to respond to Defendants motion
to confirm. It is Plaintiff’s greatest hope that consideration is given to this matter and he is not
deprived due process as stipulated by the statute cited herein. It is well established that Plaintiff as
a pro se litigant must submit all correspondence to the Pro Se Department and must do so according
to narrow submission guidelines.

        Therefore, Plaintiff’s submission will not enter ECF pursuant to the same procedures in
place for Defendants and could be delayed if it is not submitted at or before 1pm PST Friday, April
14, 2023. This unfortunate reality places little to no consideration on the fact that Plaintiff resides
in Los Angeles where Pacific Standard Time is standard and undermines law and statutory
provisions that guarantee him a fair proceeding.

        So, Plaintiff kindly requests a change of due date for his response to Defendants motion to
confirm the arbitration award pursuant to Federal Arbitration Act 9 U.S. Code § 12 that aligns with
the statutorily established deadline Monday, April 17, 2023.

                                                                                             Sincerely,

                                                                               Adrian Jules, in Pro Per
